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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------- )(
                                                                     FINDINGS OF FACT AND
 In the Matter of the Trusteeship Created by                         CONCLUSIONS OF LAW
 American Home Mortgage Investment Trust 2005-
 2, relating to the issuance of Mortgage-Backed                      14 Civ. 2494 (AKH)
 Notes pursuant to an Indenture dated as of October
 1, 2007

 -------------------------------------------------------------- )(
ALVIN K. HELLERSTEIN, U.S.D.J.:

                  Petitioner Wells Fargo Bank, N.A. ("Wells Fargo") brought this case, under

Minnesota law, as the securities administrator for a trust, to request instructions as to the

interpretation of the governing trust instrument. Two parties have intervened, each affected in

opposite ways by the possible interpretations, Sceptre, LLC's ("Sceptre") and Semper Capital

Management, L.P.'s ("Semper"). Sceptre also filed an affirmative claim to income from the

trust. And Semper also alleged counterclaims against Wells Fargo and cross-claims against

Sceptre. With the consent of the parties, I ordered Wells Fargo's complaint for instructions and

Sceptre's affirmative claim be severed for early trial. I conduct a trial, by the court without a

jury, on July 7, 8 and 9, 2014. My findings of fact, conclusions oflaw, and instructions to Wells

Fargo follow, supplanting those I delivered extemporaneously as a precis and summary at the

conclusion of the evidence.

                                           FINDINGS OF FACT


         1.       In June 2005, American Home Mortgage Investment Trust, 2005-2 (the "Trust")

                  issued a series of Notes, with an aggregate face value of $5.8 billion, secured by

                  residential home mortgage loans.




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2.      The Notes were divided into 26 classes, with different classes having different

        rates of interest and different rights to priorities of payment arising from the home

        mortgage loans.

3.      The following classes of Notes were publicly offered: Class I-A-1, Class I-A-2,

        Class I-A-3, Class II-A-1, Class II-A-2, Class II-A-3, Class III-A, Class IV-A-1,

        Class IV-A-2, Class IV-A-3, Class V-A-1, Class V-A-2, Class V-A-3, Class V-A-

        4-A, Class V-A-4-B, Class V-A-4-C, Class V-A-4-D, Class VI-A, Class M-1,

        Class M-2, Class M-3, Class M-4, Class M-5, Class V-M-1, Class V-M-2, Class

        V-M-3, and Class V-M-4. The following classes were not publicly offered: Class

        V-M-5, Class B, Class V-B, Class N-1, and Class N-2.

4.      In the event that the home mortgages failed to generate sufficient income to

        enable the Trust to make the payments due to the classes of Notes, the underlying

        documents provided for the allocation of losses to certain classes before others, in

        a waterfall effect. In other words, if the Trust was unable to make all of its

        promised interest and principal payments, the Holders of "junior" Notes would

        stop receiving payments before the payments to the Holders of more "senior"

        Notes are reduced. The sequence of allocations established the seniority of the

        different classes of Notes.

5.      Among the Notes issued by the Trust were Class I-A-1 Notes, Class I-A-2 Notes,

        and Class I-A-3 Notes.

6.      The Indenture Agreement (the "Indenture"), between American Home Mortgage

        Investment Trust 2005-2, as Issuer, Wells Fargo, as Securities Administrator, and

        Deutsche Bank National Trust Company as Indenture Trustee, dated June 22,



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        2005, which governed the allocation of payments to the Noteholders, allocates

        losses to I-A-2 Notes, and then to I-A-3 Notes. It provides as follows: "to the

        extent such Realized Losses are incurred in respect of the Group I Loans, [they

        are allocated] to the Class I-A-2 Notes and Class I-A-3 Notes, in that order."

        Indenture § 3.38(a) (ninth)." The term Realized Losses is defined by the

        Indenture.

7.      While§ 3.38 of the Indenture provided that losses should be allocated first to the

        Class l-A-2 Notes and then to the Class 1-A-3 Notes, the documents by which the

        Notes were marketed provided that losses should be allocated first to the Class 1-

        A-3 Notes and then to the Class 1-A-2 Notes.

8.      Because of this inconsistency in the suite of document underlying the Trust, Wells

        Fargo has, in this trust instruction proceeding, requested instructions as to how

        losses should be allocated between the holders of the Class I-A-2 Notes and the

        Class I-A-3 Notes.

                                    The Parties


9.      The petitioner in this action is Wells Fargo, a national banking association with its

        main office in South Dakota. Wells Fargo filed this petition in its capacity as

        Securities Administrator for the Trust. As Securities Administrator, Wells Fargo

        performs certain administrative duties with respect to the Notes. It is responsible

        for preparing distribution statements and tax information for Noteholders, and

        preparing tax and Securities and Exchange Commission ("SEC") filings for the

        Trust. Thus Wells Fargo is responsible for organizing payments to Noteholders




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         and allocating losses to different classes of Notes. Wells Fargo performs these

         duties on behalf of the Indenture Trustee and Owner Trustee.

10.      Sceptre, a limited liability company organized under Delaware law, with its

         principal place of business in New York, has intervened in this action as a party in

         interest. Sceptre is a holder of Class I-A-2 Notes.

11.      Semper, a limited partnership, with its principal place of business in New York,

         has intervened in this action as a party in interest. Semper is Investment Manager

         for Semper MIDAS Fund, L.P ., which is a holder of Class I-A-3 Notes.

                                The Deal Documents

12.      The Trust and the Notes were created by a suite of documents: a Private Offering

         Memorandum; a Prospectus Supplement dated June 20, 2005 (the "Prospectus");

         a Term Sheet dated June 13, 2005; and an Indenture Agreement dated June 22,

         2005 (together, the "Deal Documents").

13.      The Private Offering Memorandum, the Prospectus and the Term Sheet (together,

         the "Offering Documents") were intended to provide full disclosure in marketing

         the Notes to potential investors, in accordance with the federal securities laws.

14.      The Indenture governed the Trust and accordingly described the terms under

         which the Trust would make payments to Note Holders.

15.      The Offering Documents were inconsistent with the Indenture a material respect.

         While § 3.38 of the Indenture provided that losses should be allocated first to the

         Class 1-A-2 Notes and then to the Class 1-A-3 Notes, the Prospectus and Term

         Sheet provided that losses should be allocated first to the Class 1-A-3 Notes and

         then to the Class 1-A-2 Notes.



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                                  Drafting History

16.      The Offering Documents were drafted and finalized first. When these documents

         were finalized, they were supposed to reflect the contracting parties'

         understanding as to the nature of the deal pursuant to which the Notes were being

         offered. The Term Sheet was finalized on June 13, 2005 and the Prospectus, on

         June 20, 2005.

17.      After the Offering Documents were finalized and distributed to potential

         investors, the contracting parties then prepared the Indenture. The Indenture was

         drafted to conform to the Offering Documents.

18.      The draft and final versions of the Offering Documents consistently provided that

         losses would be attributed to the Class I-A-3 Notes first, and then to the Class I-

         A-2 Notes.

19.      Each of the initial drafts of the Offering Documents that were circulated between

         the contracting parties and their attorneys used the following language to provide

         for that distribution: "[Realized losses will be allocated] to the Class I-A-2 Notes

         and Class I-A-3 Notes, in reduction of the Note Principal Balance thereof, until

         reduced to zero; provided, however, that any Realized Losses allocated to the

         Class l-A-2 Notes and the Class l-A-3 Notes shall be allocated first, to the Class

         l-A-3 Notes, and second to the Class l-A-2 Notes."

20.      During the drafting process, the language in the Offering Documents conveying

         this proposition was made more concise, to provide as follows: "[Realized losses

         will be allocated] to the Class I-A-3 Notes and Class I-A-2 Notes, in that order, in

         reduction of the Note Principal Balance thereof, until reduced to zero." The



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           proviso clause was eliminated; the direct statement had made it redundant. The

           change was stylistic and did not change the substance.

 21.       The mechanic of the change is shown in the blacklined draft of the Prospectus

           circulated at 10:32pm on June 17, 2005:


          Any Realized Losses on the mortgage loans in Loan Group I, Loan Group II-C 1 Loan Group II-
~.     Loan Group Ill and Loan Group IV will be allocated or covered on any payment date as follows:
first, to the related Net Monthly Excess Cashflow, by an increase in the related Overcollateralization
Increase Amount for that payment date; second, in reduction of the related Overcollateralized Amount,
until reduced to zero (meaning, no losses will be allocated to the Class B Notes or Class M Notes until the
aggregate Note Principal Balance of the Class I-A, Class fl·A, Class III-A and Class IV-A, Class Mand
Class B Notes equals the aggregate Stated Principal Balance of the Mortgage Loans in Loan Group I.
Loan Group II-f:. Loan Group II-NC Loan Group III and Loan Group IV); third, to the Class B Notes, in
reduction of the Note Principal Balance thereof, until reduced to zero; fourth, to the Class M-5 Notes, in
reduction of the Note Principal Balance thereof, until reduced to zero; fifth. to the Class M-4 Notes, in
reduction of the Note Principal Balance thereof, until reduced to zero; sixth, to the Class M-3 Notes, in
reduction of the Note Principal Balance thereof, until reduced to zero; seventh, to the Class M-2 Notes, in
reduction of the Note Principal Balance thereof, until reduced to zero; eighth.. to the Class M-l Notes, in
reduction of the Note Principal Balance thereof. until reduced to zero; and ninth, Ul,.to the extent such
Realized Losses are incurred in respect of the mortgage loans in Loan Group I. to the Class I-A-2-J, Notes
and Class J-A-;i Notes, in that order jn reduction of the Note Principal Balance thereof, until reduced to
zero; 13re"iaee, eewe"er, Uiat aey Realiaeel :bessee alli<>satee te tee Class I A 2 ~lateB ans Gia:-; I A 6
"t>letes saa.ll ee allaeau1e first, te the Class TA J ;bJetes. aRe sesese. te the Class J /\ Z '!>lat-es and !yt m the
exrem such Realjze<l LQ§~§ iu:e Wklltwl in respect of the mortgage loans in koan Group f\1 1 m the qass
TV-A-~ ~mes, to tht extent gf a fraction of such loss eaual to c'x) ;he aggregate Nore Balance of tbe C)ass
IV-A-2 Notes and pass rv-A-3 Notes divjded by M th¥ agmnrw1~Princina) Balance of all oflll:
<;lass !V ·A Nmes. jn reductign of the Nore Princjpa! Balance thereof untjl re4uced to zero,



           Exhibit TX 210 at 91.

 22.       The revised language was used in the final versions of the Offering Documents,

           and distributed to all those involved in the drafting process, for comments.

 23.       The initial drafts of the Indenture conformed with the initial drafts of the Offering

           Documents in providing that losses would be allocated first to the Class I-A-3

           Notes and then to the Class I-A-2 Notes using the same language as in the initial

           drafts of the Term Sheet and the Prospectus: "[Realized losses will be allocated]

            to the Class I-A-2 Notes and Class I-A-3 Notes, in reduction of the Note Principal

            Balance thereof, until reduced to zero; provided, however, that any Realized


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          Losses allocated to the Class 1-A-2 Notes and the Class 1-A-3 Notes shall be

          allocated first, to the Class 1-A-3 Notes, and second to the Class 1-A-2 Notes."

24.       The changes in the draft of the Prospectus made at 10:32 pm on June 17, 2005

          were intended to be made as well in the Indenture in order that all the operative

          documents would conform, one to the others. A draft of the Indenture, intended to

          conform to the Prospectus and Term Sheet, was prepared at 1: 11 am on the

          morning of June 22, 2005 by an attorney from the law firm of Thacher Proffitt &

          Wood, LLP, containing this stylistic change. However, the new draft contained a

          typographical error.

25.       The draft made the following change:


        Notes, in reduction of the Note Principal Balance thereof, until reduced to zero; and ninth, ill.to
        the extent such Realized Losses are incurred in respect of the Group I Loans, to the Class I-A-2
        Notes and Class I-A-3 Notes, in thm order in reductiop of thC Note principal Balanc;s meregf and
        tii rg the extept such Realized Losses are incurred in respect of the mong;age loans in Loan Grouo
        IV to the Class IV-A-3 Notes to tbe extern gf a fractjop of such loss equal to fx) tbe aggregate
        ~e Balanc% 9f tbe Class JV-A-2 Notes and Class IV-A-3 Nptes djvided by (y) the agigegate
        Note Princjpa! Balance of all of the C1ass IV-A Notes. in reduction of the Note Principal Balance
..-·    thereof, until reduced to zero~ flFO'<'iaea, "Ro•.ver,·er, ~Et\ &HY Realieed bosses alleeatee l:El tee Class
        I A ~ Notes ;u1a tfie Glass I A 3 Neff!s 5sall ee aHoeatea ;arst, to tl\e Class l A ~ ~Jetes. Elfta
        sse0F1G, ~o ~e Class I A 2 ~letes.



          Exhibit TX 214 at 74.

26.       The Thacher Proffitt attorney made three of the four changes made in the

          Prospectus. He inserted the phrase "in that order," and he deleted the proviso

           clause, but he failed to cross out the "2" in "Class I-A-2" and make it a "3", and

           he failed to cross out the "3" in "Class I-A-3" and make it a "2." The error was

           not noticed by the participants in the drafting process, and the error in conforming

           the Indenture became fixed in the final version of the Indenture.



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27.      There was no evidence of any intention to change the sequence of allocating

         losses. Had there been such an intention, the parties would have known that they

         were required by the federal securities laws to disclose the changed intent in a

         supplement to the Prospectus and in all other disclosure documents filed with the

         SEC.

28.      The portion of the Prospectus purporting to summarize the Indenture's terms

         contained the following provision referring readers to the Indenture: "The

         following summary describes the terms of the Indenture. The summary does not

         purport to be complete and is subject to, and qualified in its entirety by reference

         to, the provisions of the Trust Agreement and Indenture." Exhibit TX-1at136.


                         The Structure of the Transaction


29.      The structure of the transaction suggests that the allocation of losses was intended

         to be as described in the Term Sheet and the Prospectus, and not as in the

         Indenture.

30.      Nomenclature. The Indenture consistently refers to a lower numbered note as

         senior to a higher number note in respect of loss allocations. (A note is senior, all

         other things being equal, when loss allocations are applied first to more junior

         notes.) Thus, Class M-1 Notes are senior to Class M-2 Notes, which are senior to

         Class M-3 Notes. Similarly, Class 11-A-1 Notes are senior to Class 11-A-2 Notes,

         which are senior to Class 11-A-3 Notes. All classes of notes follow this sequence

         of seniority. Only the Class I-A-1, Class I-A-2, and Class I-A-3 Notes, and only

          in the Indentures, provide for different seniority. And, in the case of Class I-A



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           Notes, the sequence provided by the Indenture with respect to seniority is

           asymmetrical, viz., Class I-A-1, Class I-A-3, Class I-A-2.

  31.      Interest Rates. All other things being equal, interest rates are higher for more

           junior securities, and lower for more senior securities, reflecting that losses are

           more likely to be incurred in junior securities. The Class I-A-2 Notes were

           assigned a lower interest rate than the Class I-A-3 Notes (LIBOR 1 plus 0.350%

           interest compared with LIBOR plus 0.380%), suggesting that the Class I-A-3

           Notes were intended to be junior to the Class I-A-2 Notes. The interest rate

           differentials reflect the sequence of loss allocations provided by the Prospectus

           and the early drafts of the Indenture, but not the sequence of loss allocations

           provided by the final version of the Indenture.

  32.      Credit Enhancement in the Term Sheet. The final Term Sheet describes the

           Credit Enhancement of each set of notes. This number reflects the percentage of

           the total value of the transaction that must suffer losses before those notes will

           suffer losses. The higher the Credit Enhancement, the more senior is the note.

           The final Term Sheet gave the Class I-A-2 Notes a Credit Enhancement of

           17.55%, and 7.55% for the Class I-A-3 Notes, consistent with the Prospectus, but

           contradicted by the final version of the Indenture.


The Inconsistency between the Indenture and the Offering Documents is Discovered
   33.     The inconsistency between the Indenture and the Offering Documents regarding

           the allocation oflosses between the Class I-A-2 Notes and the Class I-A-3 Notes




   The London Interbank Offered Rate.
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      was first publicly disclosed on August 23, 2010 by a press release released by

      Moody's.

34.   The press release included the following statement:

             " ... Moody's has corrected the ratings of2 tranches [from American
             Home Mortgage Investment Trust 2005-2]: Class I-A-2 and I-A-3.
             Previously, Moody's calculated loss allocation to these tranches
             based on the [Prospectus], which states that when the subordinate
             certificates are depleted, realized losses in respect of the mortgage
             loans in Loan Group I will be allocated to the Class I-A-3 and I-A-
             2 in that order. However, per the Pooling and Servicing agreement
             (PSA) [i.e., the Indenture], the realized losses in Loan Group I will
             be allocated first to I-A-2 and I-A-3. The Trustee has confirmed that
             they will be following the PSA. As such our ratings have been
             adjusted to reflect the loss allocation rules described in the PSA. As
             a result, Class I-A-2 has a lower rating than I-A-3 reflecting the
             lower levels of enhancements."


35.   Following the press release, several investors contacted Wells Fargo regarding the

      discrepancy.

36.   In August 2011, Intex, another company providing services to investors, notified

      its customers that there was a conflict between the Offering Documents and the

      Indenture. Intex provided a modeling capability to its customers, enabling then to

      analyze cash flows according to both the provisions in the Offering Documents,

      and those in the Indenture. This enabled risk evaluations of investments in either

      or both the Class I-A-2 and the Class I-A-3 Notes.




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                    Investors in the Class I-A-2 and Class I-A-3 Notes


37.      All investors in the Class I-A-2 Notes and the Class I-A-3 Notes either bought the

         Notes before the discrepancy between the Indenture and the Offering Documents

          was discovered in August 2010, or after.

38.      The Prospectus indicated that Class l-A-3 Notes were junior to Class 1-A-2 Notes.

          Thus, according to the Prospectus, those who purchased the Class l-A-2 Notes

          before August 2010 reasonably expected their Notes to be treated as senior; those

          who purchased Class l-A-3 Notes reasonably expected their Notes to be treated as

         JUillOf.


39.       Those who purchased Notes after August 2010, when the market became aware of

          the discrepancy, in the exercise of due diligence, should have been aware of the

          discrepancy between the Indenture and the Offering Documents and the

          concomitant uncertainty over the seniority of the Notes. Accordingly, anyone

          who purchased Notes after August 2010 was, in part, speculating on their priority.

 40.       As discussed below, Semper and Sceptre both were aware of the inconsistency.


      Och-Ziff Capital Buys Class I-A-2 Notes and Transfers Them to Sceptre


 41.       In January 2012, Och-Ziff Capital ("Och-Ziff') bought $50 million original face

           value Class l-A-2 Notes from Credit Agricole at 23.4006% of their face value.

 42.       Och-Ziff was aware of the discrepancy between the Indenture and the Offering

           Documents when it made this purchase. It took this discrepancy into account

           when it made its decision, since it considered both the value of the Class l-A-2

           Notes if they were considered senior to the Class I-A-3 Notes and their value if


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      they were considered junior, thus creating an upside value to their investments

      and a downside value. After considering the price of the Notes, the risks, the

      upside and the downside, Och-Ziff determined that the Notes it purchased were a

      good investment.

43.   In December 2013, Och-Ziff bought more Class I-A-2 Notes, with a face value

      of $20,000,000 at 42.4688% of their face value.

44.   In March 2014, Och-Ziff bought more Class I-A-2 Notes, with a face value of

      $1,000,000 at 44.4688% of their face value.

45.   In June 2013, Och-Ziff created Sceptre as a special purpose vehicle to hold its

      Notes. The ultimate beneficiaries of the Notes held by Sceptre are investors in

      Och-Ziff.


                       Semper Buys Class I-A-3 Notes


46.   In late September or early October 2012, Semper bought $26 million original face

      value Class I-A-3 Notes from Nomura Securities.

47.   Semper's trader responsible for the deal, Boris Peresechensky, testified that on

      September 27, 2012 he submitted his bid for the Class I-A-3 Notes. He claims

      that at that time he was not aware of the discrepancy between the Indenture and

      the Offering Documents. He acknowledged, however, that he had noticed a

      "nomenclature abnormality" as to the relativity priority of Class I-A-3 and Class

      I-A-2 Notes. He testified that before submitting his bid he reviewed the Indenture

      and related market data, and concluded that the Class I-A-3 Notes were senior to

      the Class I-A-2 Notes.



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48.   Peresechensky's awareness of a "nomenclature abnormality" indicates that he was

      aware of the uncertainty in priority, between Class I-A-2 and 3 Notes. His

      decision to purchase the Class I-A-3 Notes reflected his bet that the Class I-A-3

      Notes would be treated as senior to the Class I-A-2 Notes.

49.   Semper's bid on the Class I-A-3 Notes at a price of 47.25% of face value was

      accepted the same day it was made, September 27, 2012.

50.   Peresechensky testified that on September 28, 2012-the day after his bid on

      behalf of Semper had been accepted but before it was settled-he learned from

      another trader, Ali Haghighat, about the inconsistency between the Deal

      Documents regarding the priority of the Class I-A-2 and 3 Notes.

51.   Peresechensky had attempted to flip the Class I-A-3 Notes to Haghighat on

      September 28, 2012. Haghighat agreed to buy the notes at 49.50% of face value,

      a higher price than the 47.25% that Semper had paid for them. But ten minutes

      later, Haghighat retracted his bid because, as he termed it, a "problem" existed

      with the Class I-A-3 Notes. Haghighat told Peresechensky that the Class I-A-3

      Notes were junior to the Class I-A-2 Notes and sent Peresechensky some

      language reflecting the discrepancy between the Indenture and the Prospectus.

52.   Peresechensky allowed Haghighat to back out of the deal. Peresechensky claims

      that the deal had not been finalized and that he allowed Haghighat to back out

      because of their ongoing business relationship.

53.   Peresechensky did not try to back out of Semper's purchase of the Notes from

      Nomura Securities, claiming that there was less opportunity to retract because a

      day had passed. Semper's bid on the Notes became final on October 1, 2012.



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54.   Semper's decision to invest, and to remain invested, in the Class I-A-3 Notes was

      based on an evaluation of what the value of would be if those Notes were treated

      as senior and what their value would be if they were treated as junior. After

      considering the upside and the downside, Semper made a knowing decision,

      based on the advantages and disadvantages of the Notes, to take a long position

      on the Class I-A-3 Notes.

55.   Semper does not hold a majority of the Class I-A-3 Notes.


 Wells Fargo's Communications with Noteholders and Consent Solicitation


56.   In 2011, before either Semper or Sceptre had bought any Notes, Wells Fargo

      received communications from holders of Class I-A-2 Notes, requesting that

      Wells Fargo allocate losses according to the terms of the Offering Documents

      instead of the Indenture.

57.   On May 2, 2011, Wells Fargo wrote to one holder of Class I-A-2 Notes to explain

      its position. Wells Fargo stated that "[a]bsent an amendment to the Indenture," it

      would "allocate Realized Losses to the Class 1-A-2 and Class 1-A-3 Notes in the

      manner currently set forth in the Indenture," and that it could not amend the

      Indenture without the consent of all affected Noteholders. Wells Fargo also

      advised the Noteholder that it would have to be indemnified for the costs of a

      solicitation if it were to undertake a solicitation.

58.   Wells Fargo's statements regarding the procedure for amending the Indenture

      were a reference to the following sections of the Indenture.

59.   Section 5.07 of the Indenture provides:



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          "Notwithstanding any other provisions in this Indenture, the Holder of any Note

          shall have the right, which is absolute and unconditional, to receive payment of

          the principal and interest, if any, on such Note on or after the respective due dates

          thereof expressed in such Note or in this Indenture and to institute suit for the

          enforcement of any such payment, and such right shall not be impaired without

          the consent of such Holder."

    60.   Section 9.01 provides that the Indenture may be modified, by a Supplemental

          Indenture, without the consent of Holders, to cure ambiguities and

          inconsistencies. Specifically, Section 9.0l(a)(v) provides that the Indenture may

          be modified "to cure any ambiguity, to correct or supplement any provision herein

          or in any supplemental indenture that may be inconsistent with any other

          provision herein or in any supplemental indenture."

    61.   Section 9.02, however, requires the consent of Holders substantively affected by a

          modification or supplementation of the Indenture. Specifically, section 9.02

          provides "that no such supplemental indenture shall, without the consent of the

          Holder of each Note affected thereby: ... (vi) modify any of the provisions of this

          Indenture in such manner as to affect the calculation of the amount of any

          payment of interest or principal due on any Note on any Payment Date (including

          the calculation of any of the individual components of such calculation)."

    62.   On October 3, 2012, Semper2 contacted Wells Fargo by e-mail to confirm that

          Wells Fargo would adhere to the loss allocation priority set forth in the Indenture.




2   At the time, Semper was known as UCM Partners, LP.
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63.   By e-mail dated October 4, 2012, Wells Fargo advised that that it would follow

      the terms in the Indenture absent an amendment, and that an amendment required

      the consent of 100% of the Class I-A-3 Noteholders.

64.   In or around February 2013, Och-Ziff and Sceptre communicated with Wells

      Fargo and requested that Wells Fargo allocate losses to the Class I-A-3

      Noteholders before allocating them to the Class I-A-2 Noteholders.

65.   On May 10, 2013, Wells Fargo sent a solicitation to the Class I-A-2 and Class I-

      A-3 Noteholders for an amendment of the Indenture by consent, pursuant to

      Indenture§ 9.02. Wells Fargo did not require that Och-Ziff, Sceptre, or any other

      Noteholder pay the costs associated with the solicitation.

66.   In its May 10, 2013 solicitation notice, Wells Fargo stated that: "If the consent of

      100% of the Class I-A-2 and Class I-A-3 Noteholders is not received, [Wells

      Fargo and certain other entities] reserve the right (but assume no obligation) to

      take further action to resolve the inconsistency between the Indenture and the

      [Prospectus], including legal action."

67.   On May 23, 2013, Semper sent to Wells Fargo a letter objecting to the consent

      solicitation and requesting that Wells Fargo reconfirm that losses would be

      allocated first to the Class I-A-2 Notes and then to the Class I-A-3 Notes. The

      letter stated that Semper would vigorously oppose any attempt to "unilaterally or

      judicially amend the Indenture in any way that would change the order of

      allocating Realized Losses or otherwise adversely affect the value of the Class [1-

      A-]3 Notes." The letter also threatened that Semper would take legal action ifthe

      matter is not resolved quickly.



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68.   Because Semper did not consent, the Indenture was not amended.

69.   On May 31, 2013, Wells Fargo sent Semper a letter in response to Semper's May

      23, 2013 letter. Wells Fargo's letter stated that its Notice did not state that Wells

      Fargo or other entities "will definitely take legal action to resolve the

      inconsistency between the Indenture and the [Prospectus]. On the contrary, it

      says that such parties reserve their rights to take legal action. A reader should

      neither interpret such statement as an indication that legal action will definitely be

      commenced nor as an indication that legal action will not be commenced. It is

      simply a reservation ofrights." (Emphasis in original.)

70.   Semper had an opportunity to and did not sell its Class I-A-3 Notes after learning

      of Wells Fargo's reservation ofrights.


                 Wells Fargo's Trust Instruction Proceeding


71.   On January 17, 2014, Wells Fargo filed a petition in Minnesota District Court,

      Fourth Judicial District, Hennepin County, for an order instructing it as to the

      allocation of losses between Class I-A-2 and Class I-A-3 Noteholders. See Minn.

      Stat.§ 501B.16 et seq. It filed suit in the Fourth Judicial District because it

      administered the Trust from its office in that District.

72.   Prior to the filing of the petition, the flow of income from the pool of mortgages

      held by the Trust had covered all principal and interest due to Classes I-A-2 and 3,

      without need to allocate losses, or shortfalls, between these classes. Wells Fargo

      determined, however, that shortfalls in principal and interest likely would arise by

      the spring or summer of 2014 and that the loses, or deficiencies in principal and



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      losses, would have to be allocated between Class I-A-2 and Class I-A-3

      Noteholders.

73.   Sceptre intervened and removed the case to the United States District Court for

      the District of Minnesota, invoking, inter alia, the court's diversity jurisdiction.

74.   Semper also intervened.

75.   Semper, Sceptre and Wells Fargo stipulated, and the U.S. District Court ordered,

      that the case be transferred to the United States District Court for the Southern

      District of New York.

76.   Wells Fargo sent Notices concerning the trust instruction proceeding to all

      Noteholders, on or about January 27, 2014, February 20, 2014, March 14, 2014,

      and April 9, 2014.


                           CONCLUSIONS OF LAW


77.   This trial involves the following claims and issues: Wells Fargo, without

      adopting a substantive position, petitions for judicial instructions as to how the

      Indenture should be interpreted and if it should be reformed. Semper argues that

      the proceeding is improper and that the Indenture cannot be reformed.

      Alternatively, and as a party-in-interest, Semper suggested instructions that it

      urged the Court to adopt. Sceptre, also as a party-in-interest, suggested its own

      set of instructions that it argued the Court should give to Wells Fargo, and

      claimed its right to receive full payments from the Trust. Semper opposed

      Sceptre' s claim.




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78.   In a trust instruction proceeding, the court represents the interests of all parties,

      including those who are not represented and who may be unascertained. See

      Minn. Stat.§§ SOlB.19, SOlB.21.


                                   Jurisdiction


79.   The Court has jurisdiction over the subject matter pursuant to 28 U.S.C. § 1332.

      As discussed in my Order finding that Sceptre established jurisdiction, there was

      complete diversity of citizenship when Sceptre removed the case to the United

      States District Court for the District of Minnesota. See Dkt. No. 48 (May 13,

      2014) (Order finding that Sceptre, LLC established subject matter jurisdiction).

80.   Section 1332(a) "gives federal district courts original jurisdiction of all civil

      actions 'between ... citizens of different States' where the amount in controversy

      exceeds $75,000." Lincoln Prop. Co. v. Roche, 546 U.S. 81, 89 (2005) (quoting

      28 U.S.C. § 1332(a)(l)).

81.   "Diversity jurisdiction is determined at the time of removal." Philip v. Deutsche

      Bank Nat. Trust Co., 11 CIV. 8960 PGG, 2012 WL 2354242, at *2 (S.D.N.Y.

      June 20, 2012).

82.   When Wells Fargo commenced its trust instruction proceeding it was the only

      party to the proceeding and it had no adverse party.

83.   However, Sceptre then intervened, transforming the case into an adversary action,

      and removed the case to federal court. At that time, Sceptre and Wells Fargo

      were the only parties in the case. Since Sceptre and Wells Fargo had different

      legal interests, they were considered opposing parties for diversity purposes. See

      Gurney's Inn Resort & Spa Ltd. v. Benjamin, 743 F. Supp. 2d 117, 121 (E.D.N.Y.

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              2010) ("[I]t is the duty of the Court to look beyond the pleadings, and arrange the

              parties according to their sides in the dispute.").

       84.    Sceptre and Wells Fargo are citizens of different states. Wells Fargo, as a

              national banking association, having its main office in South Dakota, is a citizen

              of South Dakota for diversity purposes. 3 Sceptre is a limited liability company,

              and "an LLC is a citizen of all the states where its members are citizens."

               Colorado Energy Mgmt., LLC v. Lea Power Partners, LLC, 12 CIV. 0528 TPG,

              2012 WL 760192, at *1 (S.D.N.Y. Mar. 8, 2012). Sceptre has submitted an

              affidavit stating that none of its members is a citizen of South Dakota.

       85.    The amount in controversy requirement is met here since this action will resolve

              the distribution of approximately $30 million.


                                          Choice of Law


       86.     When a case has been transferred from one district court to another - here, from

               the United States District Court for the District of Minnesota to the United States

               District Court for the Southern District of New York - the transferee court applies

               the choice of law rules of the transferor court. See Gary Friedrich Enterprises,

               LLC v. Marvel Characters, Inc., 716 F.3d 302, 313 (2d Cir. 2013); Van Dusen v.

               Barrack, 376 U.S. 612, 639 (1964); Ferens v. John Deere Co., 494 U.S. 516, 531

               (1990). Thus, this Court must apply the choice of law rules that would be applied




        In World Trade Ctr. Properties, L.L.C. v. Hartford Fire Ins. Co., 345 F.3d 154, 161 (2d
Cir. 2003), the Second Circuit ruled that Wells Fargo was "deemed [by 28 U.S.C. § 1348] to be a
citizen of every state in which it has offices." However, the United States Supreme Court ruled,
in a later decision, that a national banking association is a citizen of "the State designated in its
articles of association as its main office." Wachovia Bankv. Schmidt, 546 U.S. 303, 318 (2006).
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      by the Minnesota federal court. In a diversity case, the Minnesota federal court

      applies the choice of law rules of the State of Minnesota. Varga v. US. Bank Nat.

      Ass 'n, 952 F.Supp.2d 850, 856 n.5 (D. Minn. 2013); Klaxon Co. v. Stentor Elec.

      Mfg. Co., 313 U.S. 487, 496 (1941).

87.   Under Minnesota choice of law rules, courts must apply Minnesota procedural

      law, unless some other circumstance requires them not to. See Davis v. Furlong,

      328 N.W.2d 150, 153 (Minn. 1983).

88.   Under Minnesota choice oflaw rules, parties may, through a choice oflaw clause,

      enter into an agreement providing that a different state's laws will apply to their

      agreement. See US. Leasing Corp. v. Biba Info. Processing Servs., Inc., 436

      N.W.2d 823, 826 (Minn. App. 1989); Midland Funding, LLC v. Schlick, No.

      Al3-0804, 2013 WL 6223571, at *3 (Minn. App. 2013) (unpublished). Because

      Minnesota courts operate on the presumption that Minnesota procedural rules will

      apply, they also presume that choice of law clauses govern only the question of

      how to interpret a contract, and not procedural issues, unless the choice of law

      clause expressly states that it applies to procedure. US. Leasing Corp., 436

      N.W.2d at 826; Midland Funding, LLC, 2013 WL 6223571, at *3.

89.   In this case, the Indenture has a choice oflaw clause, which provides as follows:

      "THE INDENTURE SHALL BE CONSTRUED IN ACCORDANCE WITH

      THE LAWS OF THE STATE OF NEW YORK ... AND THE OBLIGATIONS,

      RIGHTS AND REMEDIES OF THE PARTIES HEREUNDER SHALL BE

      DETERMINED IN ACCORDANCE WITH SUCH LAWS." Indenture§ 10.12.




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90.   Since the choice of law clause provides for the application of New York

      substantive law, but does not explicitly require the application of New York

      procedural rules, this Court will apply Minnesota procedural law and New York

      substantive law.

              The Nature of the Trust Instruction Proceeding

91.   Trust instruction proceedings are a well-established procedure by which trustees

      (and other affected parties) can seek judicial guidance from the court about how

      to resolve immediate and difficult issues of interpretation of governing

      documents. Moser v. Darrow, 341 U.S. 267, 274 (1951). By giving notice to the

      affected parties, the trustee can ensure that all affected parties receive

      authoritative and binding judicial instruction. See Restatement (Third), Trusts §

      71 (2007) ("A trustee or beneficiary may apply to an appropriate court for

      instructions regarding the administration or distribution of the trust if there is

      reasonable doubt about the powers or duties of the trusteeship or about the proper

      interpretation of the trust provisions.")

92.   In Minnesota, trust instruction proceedings are authorized by statute. See Minn.

      Stat.§ 501B.16 et seq. But they have their roots in equity. See Congdon v.

      Congdon, 160 Minn. 343, 355 (1924).

93.   "The petition for instructions gives the court supervisory control over the trustee

      to protect the trustee when the meaning of the trust instrument is in doubt. ...

      [and] to protect beneficiaries against the trustee's inefficiency, incompetency or

      neglect." First Trust Co., Inc. v. Union Depot Place Ltd. P 'ship, 476 N.W.2d

       178, 183 (Minn. Ct. App. 1991 ). "The purpose for such judicial guidance is to



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      protect the trustees under circumstances where, in the opinion of competent

      lawyers, the meaning of the trust instrument may be in doubt or, as in this case,

      where there was uncertainty as to the proper application of the law." In re

      Warner's Trust, 275 Minn. 174, 179-80 (1966).

94.   A trust instruction proceeding can be brought by a trustee or any person interested

      in a trust. See Minn. Stat.§ 501B.16. Here, Wells Fargo, the Securities

      Administrator of the Trust, entrusted with the responsibility to allocate losses and

      to make distributions to the proper noteholders, has a role akin to that of a trustee.

      It is the proper party to bring this action because it is interested in the Trust's

      administration and needs judicial instructions.

95.   The party filing the action must provide notice to affected beneficiaries. Minn.

      Stat.§ 5018.18. The affected beneficiaries may then appear as interested parties.

      Those having notice who do not appear are bound by the Court's determination.

      Minn. Stat.§ 501B.21.

                   Semper's Statute of Limitations Defense

96.   Semper has moved to dismiss this action, or the portions of this action requesting

      reformation, as barred by New York's statute oflimitations for actions based on

      reformation or mistake. See CPLR § 213(6); Porwick v. Fortis Benefits Ins. Co.,

      99 CV 10122 (GBD), 2004 WL 2793186, at *4 (S.D.N.Y. Dec. 6, 2004) (noting

      that New York's statute of limitations on an action to reform a contract because of

      a mistake begins to run on the date when a mistake is made, not when it was

      discovered). Semper has also raised the statute of limitations as an affirmative

      defense.



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97.    Semper's statute of limitations defense is premised on the theory that this action is

       an action for reformation based on mutual mistake. However, the nature of a trust

       proceeding is a request for instructions. This is grounded in a court's continuing

       equitable supervision over a trust. A trust is a continuing document. If there is an

       error or uncertainty, it cannot be allowed to lurk. Thus, while a trust instruction

       proceeding may or may not encompass reformation, the applicable statute of

       limitations is determined by the nature of the petitioner's request. In this case,

       petitioner's request is that of a Securities Administrator acting on behalf of a

       trustee, as to the continuing performance of the Securities Administrator's duties

       under the trust. Accordingly, trust instruction proceedings are governed by their

       own statutes of limitations.

98.    Under both New York and Minnesota laws, statutes of limitations are procedural.

       Parkhill v. Minnesota Mut. Life Ins. Co., 174 F. Supp. 2d 951, 957 n.1 (D. Minn.

       2000), aff'd, 286 F.3d 1051 (8th Cir. 2002) ("Statutes oflimitations are

       procedural in nature and therefore governed by the law of the forum, Minnesota.")

       (citing Davis v. Furlong, 328 N.W.2d 150, 153 (Minn. 1983)); Tanges v.

       Heidelberg N Am., Inc., 93 N.Y.2d 48, 54 (1999) ("In New York, Statutes of

       Limitation are generally considered procedural[.]").

99.    Since a procedural matter is involved, a Minnesota court, in the first instance,

       would apply its own statute of limitations.

100.   But, Minnesota has a borrowing statute based on the Uniform Conflict of Laws-

       Limitations Act, codified at Minn. Stat. § 541.30 et seq. The borrowing statute

        applies to "claim[s]" which are "substantively based" upon the law of one or more



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        state other than Minnesota. Minn. Stat. § 541.31 Subdiv. 1(a). Since the choice

        oflaw clause in the Indenture provides that New York law should apply, the

        terms and conditions of the Indenture, including a judicial instruction regarding

        such terms and conditions, are governed by New York law. Wells Fargo's claim

        for judicial instruction, therefore, is a claim that is substantively based on the law

        of New York State. However, the issue of borrowing is in doubt. No Minnesota

        judicial decision has ruled on whether the borrowing statutes should apply to a

        trust instruction proceeding.

101.    There is no need to decide whether New York's or Minnesota's laws concerning

        timeliness apply because Wells Fargo's trust instruction proceeding was timely

         under either state's laws.


A.       Minnesota Does Not Apply A Statute of Limitations to Trust Instruction

         Proceedings.


102.     Under Minnesota law, statutes of limitations apply only to actions involving the

         assertion of claims against an adversary. The Minnesota code prescribes various

         statutes oflimitations for different "actions." See Minn. Stat. § 541.01 et seq.

         The Minnesota Supreme Court has stated that the definition of action used in

         those statutes of limitations was an adoption of the common law definition of

         action: "the prosecution in a court of justice of some demand or assertion of right

         by one person against another." Har-Mar, Inc. v. Thorsen & Thorshov, Inc., 300

         Minn. 149, 153 (1974).

103.     A trust instruction proceeding does not necessarily involve the assertion of claims

         against another party. When Wells Fargo commenced this proceeding, it was the

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       only party to this case and it did not assert a right or claim to anything. This

       action became an adversary proceeding only when Sceptre intervened as a party-

       in-interest.

104.   In commencing this action, Wells Fargo has merely asked the Court, through its

       equitable authority, to direct the future distribution of the Trust's property because

       of uncertainty in light of the conflicting claims of the Class I-A-2 and Class I-A-3

       noteholders. See Congdon, 160 Minn. at 355 ("A court of equity has power to

       direct the execution of an express trust upon request from the trustees for

       guidance in the performance of their duties.").

105.   No Minnesota court has applied a statute oflimitations to a trust instruction

       proceeding.

106.   Semper argues that in In re Trusteeship of Trust Created Under Trust Agreement

       Dated Dec. 31, 1974, 674 N.W.2d 222 (Minn. Ct. App. 2004) ("In re 1974

       Trust"), the Minnesota Court of Appeals applied a statute of limitations to a trust

       instruction proceeding. Semper misreads the case. In In re 1974, the court was

       called on to determine the paternity of children. The Minnesota Parentage Act

       created a presumption that a husband is the biological father of a child born to his

       wife, and provides that this presumption can be rebutted only before the child

       reaches three years of age. The Minnesota Court of Appeals held that the Trust

       Instruction Proceeding would be governed by this irrebuttable presumption

       because the children at issue were older than three. The court described this as a

       statute of limitations on attacking a father's paternity. 674 N.W.2d at 231. But,

       this statute of limitations is not a general statute of limitations-it is a special



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       procedural rule applicable only to paternity issues, and the special policy issues

       relating to issues of paternity. Minnesota's statutes oflimitations are located in

       Chapter 541 of the Minnesota Statutes, which is captioned "Limitation of Time,

       Commencing Actions," whereas the rule regarding when a presumption of

       paternity becomes irrebuttable is located in Chapter 257 of the Minnesota

       Statutes, which is captioned "Children; Custody, Legitimacy." See Minn. Statute

       § 257.57 Subdiv. 2(3). Thus, In re 1974 Trust's application of a rule regarding

       when presumptions about paternity become irrebutable does not indicate that

       Minnesota courts would apply that special rule to trust instruction proceedings.

107.   There are strong policies supporting Minnesota courts' decision not to apply

       statutes of limitations to trust instruction proceedings.

108.   A trust is a continuing document, under continuing judicial supervision. A trust

       instruction proceeding is a well-established procedure by which trustees can seek

       judicial guidance about how to resolve "difficult questions of judgment." Moser,

       341 U.S. at 274. Trust instruction proceedings allow courts to resolve errors

       when they become concrete.

109.   Trustees and related parties may seek judicial guidance only when faced with

       concrete problems that need immediate resolution, such as how to allocate money

       between two groups of beneficiaries. See Restatement (Third) of Trusts,§ 71,

       Comment (d) ("[A] court [will not] instruct the trustee as to a question that may

       never arise .... Thus, a court ordinarily will not instruct a trustee on the

       distribution of trust property before the time arrives for making, or at least

       planning, that distribution."). Imposing a statute of limitations on proceedings for



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       trust instruction would change the nature of these proceedings, by forcing trustees

       to file petitions for guidance about hypothetical future issues in order to avoid

       letting the statute of limitations run.

110.   Accordingly, I conclude that Minnesota does not have a statute oflimitations

       applicable to trust instruction proceedings because they are not actions based on

       the assertion of claims against other parties. See Har-Mar, Inc., 300 Minn. at 153.

       Should there be unreasonable delay, the doctrine of laches would be available to

       dismiss such an inappropriate proceeding.

111.   In any event, if Minnesota's six-year statute of limitations for actions based on

       contract were to be applied to this trust instruction proceeding, See Minn. Stat. §

       541.05, subd. 1(1) (providing a six year statute of limitations for actions on

       "contracts or other obligation, express or implied"); see also Sargent v. State

       Farm Mut. Auto. Ins. Co., 486 N.W.2d 14, 16 (Minn. Ct. App. 1992), the action

       brought by Wells Fargo still would be timely.

112.   Under Minnesota law an action generally accrues "at such time as it could be

       brought in a court of law without dismissal for failure to state a claim." See

       Dalton v. Dow Chem. Co., 280 Minn. 147, 152-53 (1968).

113.   Comment (d) to Section 71 of the Restatement (Third) of Trusts states that:

               Because of concern regarding burdens on the judicial system and
               unwarranted costs and delays in trust administration, a trustee or
               beneficiary normally is not entitled to instructions with respect to
               the administration of a trust unless there is some reasonable doubt
               about the extent of the trustee's powers or duties or about proper
               interpretation of the trust provisions. Nor will the court instruct the
               trustee as to a question that may never arise, or that may arise only
               in the future, unless some need is shown for current resolution of the
               matter. Thus, a court ordinarily will not instruct a trustee on the



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              distribution of trust property before the time arrives for
              making, or at least planning, that distribution.

       (Emphasis added.) Thus, under the Restatement, a party can begin a trust

       instruction proceeding only when faced with a concrete dispute about how to

       distribute property.

114.   In the absence of Minnesota case law on point, I conclude that Minnesota's courts

       would follow the Restatement's rule as to when suit could be brought, in

       determining when the cause of action for a trust instruction proceeding can be

       said to accrue. Restatement (Third) of Trusts§ 71 Comment (d) (a party can begin

       a trust instruction proceeding only when faced with a concrete problem, and when

       "before the time arrives for making, or at least planning, that distribution.") Thus,

       Wells Fargo's cause of action did not accrue until it was faced with the prospect

       of being unable to distribute money due to a class of noteholder and being unable

       to make such payment because of the need to allocate losses to that class, or to

       another class of noteholder.

115.   Here, Wells Fargo filed its petition for trust instruction because it anticipated that

       the Trust will, in the next few months and for the first time, begin to sustain losses

       that need to be allocated to the holders of either the Class I-A-2 Notes or the

       holders of the Class I-A-3 Notes. This action could not have been brought until

       early 2014, when Wells Fargo was faced with that concrete problem.

116.   Accordingly, I find that under Minnesota law Wells Fargo's trust instruction

       proceeding was timely.




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B.       This Proceeding is Timely Under New York's Statute of Limitations.


117.     I reach a similar result under New York law. Had the trust instruction proceeding

         been brought in New York, it would have been brought as a special proceeding

         under New York's Civil Procedure Law and Rules ("CPLR") Article 77.

118.     Since the CPLR provides no specific statute of limitations for trust instruction

         proceedings, such actions are governed either by the six-year statute of limitations

         for actions based on contracts, or the six-year statute of limitations where no other

         limitation is specifically prescribed by law. See CPLR § 213 ("The following

         actions must be commenced within six years: (1) an action for which no limitation

         is specifically prescribed by law; (2) an action upon a contractual obligation or

         liability, express or implied, except as provided in section two hundred thirteen-a

         of this article or article 2 of the uniform commercial code or article 36-B of the

         general business law ... "). See also Siegel, N.Y. Prac. § 36 (5th ed.) (2014)

         (noting that the six-year catch-all statute of limitations applies to most actions in

         equity).

119.     However, while the six-year statute oflimitations applies, there is no case law

         addressing when a cause of action for a trust instruction proceeding arises.

120.     New York's statutes oflimitations begin to run when causes of action accrue.

         CPLR § 203(a) ("The time within which an action must be commenced, except as

         otherwise expressly prescribed, shall be computed from the time the cause of

         action accrued to the time the claim is interposed.").

121.     Generally, a cause of action accrues on the date when a party first can bring suit.

         See, e.g., Charney v. N. Jersey Trading Corp., 172 A.D.2d 390 (1st Dep't 1991)


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       ("the limitation period on commencement of a declaratory judgment action should

       not begin until the right to bring an action for coercive relief accrues"); Brown v.

       Brown, 93 N.Y.S.2d 63, 75 (N.Y. Sup. Ct. 1948) afj"d as modified, 275 A.D.

       1068 (4th Dep't 1949) ajf'd, 302 N.Y. 556 (1951) ("it must be clear that the

       statute of limitations will not begin to run until there is someone capable of

       suing").

122.   In the absence of New York case law about when a trust instruction proceeding

       accrues, I conclude that New York courts likely would follow the rule articulated

       in Comment (d) to Restatement (Third) of Trusts§ 71, that "a court ordinarily

       will not instruct a trustee on the distribution of trust property before the time

       arrives for making, or at least planning, that distribution."

123.   This conclusion accords with the discussion in Professor David Siegel's treatise

       on New York Practice concerning the timeliness of special proceedings.

       Professor Siegel has written that:

               In most categories of special proceeding, problems of timeliness
               seldom arise. This is probably because the special proceeding has
               been primarily designed by the legislature for situations calling for
               speed and dispatch, and it would be especially perverse for the
               petitioner-the one who presumably needs the relief quickly-to let
               it ride for any time at all, much less for a time adequate to raise a
               limitations' problem.
       Siegel, N.Y. Prac. § 548 (5th ed.). Trust instruction proceedings, under Article

       77, are exactly this type of special proceeding. They are designed to provide

       relief to a party administrating a trust who is confronted with a concrete problem

       about how to distribute property.

124.   As discussed above, Wells Fargo filed its petition soon after it anticipated the

       need to distribute losses between the two groups ofNoteholders. Accordingly, I


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       find that under New York law Wells Fargo's trust instruction proceeding was

       timely.


C.     Semper's Statute of Limitations Defenses are Rejected


125.   Since the trust instruction proceeding is timely under both New York and

       Minnesota law, I will give guidance to Wells Fargo as to how losses should be

       distributed under the Indenture. In giving that guidance, I will consider

       arguments about the interpretation of the Indenture and also equitable arguments

       about whether it should be reformed. See Minn. Stat. § 501 B.16 ("A trustee of an

       express trust by will or other written instrument or a person interested in the trust

       may petition the district court for an order ... (4) to construe, interpret, or reform

       the terms of a trust, or authorize a deviation from the terms of a trust, including a

       proceeding involving section 501 B.31 ").


                     Semper's Other Affirmative Defenses


126.   Semper also asserts a litany of equitable affirmative defenses against the trust

       instruction proceeding. They have no merit.

127.   Semper asserts that Wells Fargo is barred from acting by !aches and by equitable

       estoppel, based on Wells Fargo's communications with Semper. It asserts that the

       Indenture should not be construed against its interests, because it was a bona fide

       purchaser. And it asserts that this Court should not give instructions that benefit

       Sceptre under the principles of unclean hands and unjust enrichment.

128.   As Semper argues, a trust instruction proceeding sounds in equity. See Congdon,

       160 Minn. at 355. However, these equitable defenses have no place here because


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       they depend on the relationship between the parties before me: Wells Fargo's

       relationship with Semper and Sceptre and Semper's status as a purchaser. In

       giving guidance to Wells Fargo regarding how to act under the Indenture, I must

       take into account the interests of all Noteholders who might be affected by my

       order, not only the interests of Sceptre and Semper. Semper's equitable defenses

       based on conduct particular to Semper or Sceptrre are without merit.

       A.     Lach es

129.   In order to invoke laches, Semper must establish that Wells Fargo's delay in

       bringing this proceeding was unreasonable. See Waldman v. 853 St. Nicholas

       Realty Corp., 64 A.D.3d 585, 588 (2d Dep't 2009) ("In order for laches to apply,

       there must be an unreasonable and inexcusable delay.").

130.   As discussed above, Wells Fargo brought this proceeding in a timely fashion

       when it determined that the Trust would soon face losses that would need to be

       allocated to either the Class I-A-2 or Class I-A-3 Notes. In doing so, Wells Fargo

       was acting consistently with the Restatement's guidance that trust instruction

       proceedings should not be brought unless a trustee needs to make, or plan for, a

       distribution of property. Restatement (Third) of Trusts§ 71 Comment (d).

131.   Thus, Semper has not established an unreasonable delay.


B.     Equitable Estoppel


132.   The doctrine of "[e]quitable estoppel prevents one from denying his own

       expressed or implied admission which has in good faith been accepted and acted

       upon by another." Airco Alloys Div. v. Niagara Mohawk Power Corp., 76 A.D.2d

       68, 81, 430 N.Y.S.2d 179 (4th Dep't 1980).

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133.   "In order to prevail on the theory of equitable estoppel, the party seeking estoppel

       must demonstrate a lack of knowledge of the true facts; reliance upon the conduct

       of the party estopped; and a prejudicial change in position." River Seafoods, Inc.

       v. JPMorgan Chase Bank, 19 A.D.3d 120, 122 (1st Dep't 2005). That reliance

       must be "rightful[]." Kobre v. Camp Magen Avraham, 293 A.D.2d 893, 895 (1st

       Dep't 2002).

134.   Additionally, "[t]he party seeking estoppel must also show, by clear and

       convincing evidence, with respect to the party being estopped, ( 1) conduct which

       amounts to a false representation or concealment of material facts, or, at least,

       which is calculated to convey the impression that the facts are otherwise than, and

       inconsistent with, those which the party subsequently seeks to assert; (2)

       intention, or at least expectation, that such conduct will be acted upon by the other

       party; and, in some situations, knowledge, actual or constructive, of the real

       facts." Coggins v. Cnty. of Nassau, 615 F. Supp. 2d 11, 22 (E.D.N.Y. 2009)

       (quotations and alteration omitted).

135.   Semper argues that Wells Fargo is equitably estopped from bringing this trust

       instruction proceeding because Wells Fargo represented to Semper that the only

       means of amending the Indenture was through an amendment pursuant to the

       consent of all Noteholders.

136.   This is not an accurate summary of Wells Fargo's communications with Semper,

       as Wells Fargo did not represent to Semper that it would not bring a legal action.

       To the contrary, in May 2013, Wells Fargo explicitly reserved the right to bring a




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       legal action. Semper continued to hold its Class I-A-3 Notes after that time, even

       though it could have sold them at a profit.

137.   Since Wells Fargo did not make statements to Semper indicating that Wells Fargo

       would not commence a trust instruction proceeding, Semper's reliance on Wells

       Fargo's statements as an implicit promise that it would not commence such a

       proceeding was not "rightful." See Kobre, 293 A.D.2d at 895. Accordingly,

       Semper' s equitable estoppel defense fails.


C.     Unclean Hands and Unjust Enrichment


138.   To establish either unclean hands or unjust enrichment, Semper must demonstrate

       unjust, unconscionable or inequitable conduct by Sceptre. See Georgia Malone &

       Co., Inc. v. Rieder, 19 N.Y.3d 511, 516 (2012) (unjust enrichment); Hytko v.

       Hennessey, 62 A.D.3d 1081, 1082 (3d Dep't 2009) (unclean hands).

139.   Semper argues that Sceptre improperly colluded with Wells Fargo and induced

       Wells Fargo to commence this trust instruction proceeding in order to benefit

       Sceptre and other holders of Class l-A-2 Notes at the expense of Semper and

       other holders of Class 1-A-3 Notes.

140.   The record does not support Semper' s allegations of collusion. Wells Fargo

       received conflicting demands from different groups of noteholders. The holders

       of Class I-A-3 Notes, including Semper, wanted Wells Fargo to follow the

       language of the Indenture, and allocate losses first to Class I-A-2 notes. The

       holders of Class I-A-2 notes, including Sceptre, wanted Wells Fargo to honor the

       Offering Documents, and allocate losses first to Class I-A-3.



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141.   Nothing suggests that Sceptre' s request that Wells Fargo honor the Offering

       Documents or commence a trust instruction proceeding was improper.


D.     Good Faith Purchaser


142.   Semper also argues that it should be protected from the reformation of the

       Indenture by the fact that it is a bona fide purchaser. The Restatement (Second)

       of Contracts § 155 provides that reformation will not be granted if the "rights of

       third parties such as good faith purchasers for value will be unfairly affected."

143.   Semper, however, was not a good faith purchaser because at the time it purchased

       its Class I-A-3 notes, it knew (or in the exercise ofreasonable due diligence

       should have known) that there was uncertainty as to whether the Class I-A-3

       Notes were senior to the Class I-A-2 Notes. Cf New York Commercial Code § 8-

       303(a) (providing that a purchaser of a security can qualify as a bona fide

       purchaser only where he does not have notice of any adverse claim to the security

       when he purchases it).

144.   Indeed, nothing about reforming the Indenture so that it treated Class I-A-2 Notes

       as senior to Class I-A-3 Notes could be characterized as unfair to the holders of

       Class I-A-3 Notes.

145.   Those who purchased the Class I-A-3 Notes before August 2010 reasonably relied

       on the Offering Documents, and not the Indenture. The Prospectus indicated that

       Class I-A-3 Notes were junior to Class I-A-2 Notes. Thus, those who purchased

       the Class I-A-3 Notes before August 2010 would not have their expectations

       disappointed by an order directing Wells Fargo to treat the Class I-A-3 Notes as

       junior.

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146.   Those who purchased the Class I-A-3 Notes after August 2010, had they

       exercised due diligence, should have been aware of the discrepancy between the

       Indenture and the Offering Documents and the concomitant uncertainty over the

       seniority of the Notes. Accordingly, anyone who purchased the Class I-A-3 Notes

       in that time was, in part, speculating on their priority.

147.   As such, an order directing Wells Fargo to treat the Class I-A-3 Notes as junior

       would not disturb the reasonable expectations of any good faith purchaser.


                           Interpreting the Indenture


A.     Contract Interpretation under New York Law


148.   "Under New York law, written agreements are construed in accordance with the

       [contracting] parties' intent and the best evidence of what parties to a written

       agreement intend is what they say in their writing. As such, a written agreement

       that is complete, clear and unambiguous on its face must be enforced according to

       the plain meaning of its terms." Schron v. Troutman Sanders LLP, 20 N.Y.3d

       430, 436 (2013) (quotations, citations, and alteration omitted).

149.   "Parol evidence--evidence outside the four corners of the document-is

       admissible only if a court finds an ambiguity in the contract." Id.

150.   Standing alone, § 3.38 of the Indenture unambiguously provides for the allocation

       oflosses first to the Class I-A-2 Notes and then to the Class I-A-3 Notes.

151.   However, the Indenture does not stand alone. "Under New York law, all writings

       forming part of a single transaction are to be read together." This Is Me, Inc. v.

       Taylor, 157 F.3d 139, 143 (2d Cir. 1998). "Contract language is ambiguous ifit


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       is capable of more than one meaning when viewed objectively by a reasonably

       intelligent person who has examined the context of the entire integrated

       agreement and who is cognizant of the customs, practices, usages and

       terminology as generally understood in the particular trade or business." Sayers v.

       Rochester Tel. Corp. Supplemental Mgmt. Pension Plan, 7 F.3d 1091, 1095 (2d

       Cir. 1993) (internal quotation marks and citation omitted) (applying New York

       law).

152.   Thus courts reading one document from a deal will consider other documents

       from the same deal in deciding whether it is ambiguous. For example, in Wells

       Fargo Bank, N.A. v. ESM Fund L LP this Court construed a Pooling Service

       Agreement based on language in the Prospectus. 785 F. Supp. 2d 188, 195-96

       (S.D.N.Y. 2011) aff'd sub nom. Wells Fargo Bank, N.A. v. Fin. Sec. Assur. Inc.,

       504 F. App'x 38 (2d Cir. 2012) (unpublished).

153.   Here, it is necessary for me to consider the Offering Documents when I read the

       Indenture because the Indenture cannot be read without them, since it explicitly

       referenced and incorporated the Prospectus. See Indenture§ 2.07(c)(x) (providing

       that "Group II-NC Subsequent Mortgage Loan[s] shall have been underwritten in

       accordance with the criteria set forth under 'The Mortgage Pool-Underwriting

       Standards' in the Prospectus Supplement.").

154.   Of even more importance, the Prospectus and the Term Sheet are the instruments

       disclosing all material terms and conditions of the placements of the Notes.

       Unless material discrepancies in the documents are fully revealed to all potential




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       investors, an issuance can be materially misleading, and fraudulent, in violation of

       the securities laws.

155.   Accordingly, in construing the Indenture, I am required to read it alongside the

       Prospectus and the Term Sheet, from the perspective of the reasonable

       understanding of all potential investors. See This Is Me, Inc., 157 F.3d at 143;

       Wells Fargo Bank, 785 F. Supp. 2d at 195-96.

156.   Semper argues that I should not read the Indenture in conjunction with the

       Offering Documents because doing so would have the effect of creating

       uncertainty. Semper contends that, to avoid uncertainty, a reader should, in the

       event of any discrepancy, be able to look to and rely on the Indenture as the

       controlling document. Semper therefore argues that an order finding the

       Indenture ambiguous based on a reading of the Prospectus would have the

       unwelcome effect of interjecting uncertainty and disturbing investors' expectation

       that they can rely on the Indenture.

157.   This argument is not persuasive. Where there is a conflict between the Offering

       Documents and the Indenture, that conflict suggests to anyone reading the suite of

       documents that there has been a mistake in either the Offering Documents or the

       Indenture. Otherwise a material difference, as between the Indenture and the

       Offering Documents, principally the Prospectus, would need to be disclosed in the

       publicly filed documents describing the deal. Because there was no disclosure

       that the Indenture differed from the Offering Documents, a conflict within the

       Deal Documents indicated a mistake.




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158.   The conflict thus creates uncertainty: it raises the specter that the Indenture does

       not accurately reflect the intent of the contracting parties, and contains a mistake,

       such as a scrivener's error. No one aware of the conflict between the documents

       could rely on the Indenture with absolute certainty. The inconsistency creates

       doubts and ambiguities.

159.   Semper cites the Central District of California's decision in Citigroup Global

       Markets Inc. v. Impac Secured Assets Corp. et al., 11 Civ. 4514 (C.D. Cal. May 3,

       2012) (ECF Doc. No. 100), in support of its argument that investors would rely on

       the Indenture standing alone.

160.   That decision is inapposite and the dicta that Semper relies on is unpersuasive.

       The Citigroup Global Markets case was an action under federal securities law.

       The plaintiff had bought securities based on its reading of a publicly filed Pooling

       and Services Agreement ("PSA"), the equivalent to an indenture. The problem

       was that the defendant had publicly filed an inaccurate version of the PSA. As a

       defense to the securities action, the defendant argued that plaintiffs reliance on an

       inaccurate version of the PSA was unreasonable. Defendant argued that the

       plaintiff should have relied on the prospectus. The court rejected this defense,

       holding that it was irrelevant under the federal securities law whether the

       plaintiffs reliance on the incorrect PSA was reasonable. See ECF Doc. No. 100

       at 14-17. The court also ruled that in any event the plaintiffs reliance on the

       incorrect PSA was appropriate, because the PSA superceded the offering

       documents. Id. at 20-21.




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161. The case before me does not involve a plaintiffs suit against an issuer for

       damages, but a Securities Administrator's need to obtain judicial guidance

       regarding how to proceed in applying inconsistent documents. In any event,

       Semper cannot claim reasonable reliance. Its reliance, by its trader Boris

       Peresechensky, was calculated seeking arbitrate profits based on the

       "nomenclature abnormality" Peresechensky noted in the deal documents. The

       case before me is different from Citigroup Global Markets.

162. It is not tolerable in a disclosure regime for a governing document to be materially

       inconsistent with other governing documents. Giving effect to an inconsistency

       would defeat the disclosure regime's purpose, by creating undisclosed changes:

       disappointing the expectations of investors who relied on the disclosure

       documents. In order to avoid such uncertainty, it is necessary to read disclosure

       documents and governing documents together, as a single suite of documents,

       consistent one with the others. Failure to do so would create material

       misstatements in an issuance of securities, in violation of the securities laws.


B.     Reading the Transactional Documents Together


163.   When all of the Deal Documents are read in conjunction, there is an ambiguity as

       to how losses should be allocated: because the statement in§ 3.38 of the

       Indenture that losses should first be allocated to Class I-A-2 Notes directly

       contradicts provisions in the Prospectus and the Term Sheet that losses should

       first be allocated to Class I-A-3 Notes. See CP III Rincon Towers, Inc. v. Cohen,

       10 CIV. 4638 DAB, 2014 WL 1357323, at *12 (S.D.N.Y. Apr. 7, 2014) (applying

       New York law and concluding that an agreement was ambiguous, because all of

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       the transactional documents could not be reconciled); see also Wells Fargo Bank,

       504 App'x at 40.

164.   It is clear that the drafters intended consistency between the Deal Documents,

       since any changes in the Indenture would need to be disclosed in supplemental

       disclosures under the federal securities laws and there were no such supplemental

       disclosures.

165.   Since the transactional documents are ambiguous, I may consider parol evidence

       to determine the contracting parties' intent. Schron, 20 N.Y.3d at 436.

166.   In this case, it is clear that the parties to the Indenture intended for losses to be

       allocated as the Prospectus provides: first to the Class I-A-3 Notes and then to the

       Class I-A-2 Notes.

167.   The drafting history shows that the contracting parties finalized the terms of the

       Prospectus and the Offering documents-which both provided that Class I-A-2

       Notes were senior to Class I-A-3 Notes-before they drafted the Indenture. The

       drafting history also shows that the Indenture reversed the allocation of losses

       between the Class I-A-2 Notes and the Class I-A-3 Notes as a result of a drafter's

       error made in the early morning ( 1: 11 am) of June 22, 2005, in conforming

       changes made in the then current draft of the Indenture with changes previously

       made in the then current drafts of the Prospectus and Term Sheet.

168.   Additionally the structure of the deal-the nomenclature given to the Notes, the

       interest rates assigned to the Notes, and the Credit Enhancement given to the

       Notes in the Term Sheet-all indicate that the contracting parties intended for the

       Class l-A-2 Notes to be senior.



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169.   In sum, the evidence is clear that the drafters intended for the Class I-A-2 Notes to

       be senior to the Class I-A-3 Notes.

170.   Accordingly, section 3.38 of the Indenture must be construed in accordance with

       the Offering Documents to allocate Realized Losses first to the Class I-A-3 Notes

       and then to the Class I-A-2 Notes. Wells Fargo is hereby ordered to allocate

       Realized Losses consistent with that construction.

171.   Since the instruction of this Order benefits Sceptre and the noteholders of the

       same class, Sceptre's affirmative claim is denied as moot. Semper's counterclaim

       and cross-claim remain open, with such merit, if any, as may appear.


                                  Reformation


172.   Under New York law, the doctrine of scrivener's error allows contracts to be

       reformed when there is a mistake in the writing that memorialized the contract.

       "Where there is no mistake about the agreement and the only mistake alleged is in

       the reduction of that agreement to writing, such mistake of the scrivener, or of

       either party, no matter how it occurred, may be corrected." Harris v. Uhlendorf,

       24 N.Y.2d 463, 467 (1969) (quoting Born v. Schrenkeisen, 110 N.Y. 55 (1888)).

173.   Scrivener's error must be shown by "clear and convincing evidence. Nash v.

       Kornblum, 12 N.Y.2d 42, 46 (1962); Aristocrat Leisure Ltd. v. Deutsche Bank

       Trust Co. Americas, 04 Civ. 10014 (PKL), 2005 WL 1950116, at *4 (S.D.N.Y.

       Aug. 12, 2005). That requirement has been satisfied. Clear and convincing error

       regarding the failure of the Thacher Proffitt lawyer to conform the Indenture to

       the prospectus and term sheet has been shown.



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174.   Semper argues that there is not clear and convincing evidence of a mistake, since

       neither the Thacher Proffitt lawyer nor any other witness testified that there was a

       mistake in the Indenture regarding the relative seniority of Class I-A-2 and Class

       I-A-3 Notes. I find, however, that scrivener's error was proved clearly and

       convincingly without such testimony, from the Offering Documents, the

       Indenture itself, and the drafting history of the documents. See   Findings~~   16-32,

       supra. Any of the parties could have called, or deposed, that witness. And it is

       not necessary to produce a witness who directly recalls the mistake when the

       drafting history and structure of the Deal Documents already show that there was

       a mistake.

175.   Semper argues that the Indenture may not be reformed based on the Trust

       Indenture Act ("TIA") and the provisions of the Indenture limiting amendment.

       These arguments are meritless.

176.   Section 3 l 6(b) of the TIA provides that: "Notwithstanding any other provision of

       the indenture to be qualified, the right of any holder of any indenture security to

       receive payment of the principal of and interest on such indenture security, on or

       after the respective due dates ... shall not be impaired or affected without the

       consent of such holder." 15 U.S.C. § 77ppp(b) (emphasis added). That section

       was designed to prevent changes to the terms of an indenture by a majority of

       shareholders, to the detriment of the minority. See In re Bd. Of Directors of

       Multicanal S.A., 307 B.R. 384, 391-92 (Bankr. S.D.N.Y. 2004) ("[T]he Trust

       Indenture Act governs the rights of individual holders under a qualified indenture

       and provides that certain of these rights cannot be impaired by a majority or



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       supermajority of other holders."); Upic & Co. v. Kinder-Care Learning Centers,

       Inc., 793 F. Supp. 448, 452 (S.D.N.Y. 1992) (noting that TIA§ 316(b)'s

       prohibition on the amendment of core terms of a trust, was prompted by the

       SEC's concerns "about the motivation of insiders and quasi-insiders to destroy a

       bond issue through insider control").

177.   Semper cites YRC Worldwide Inc. v. Deutsche Bank Trust Co. Americas, 10-

       2106-JWL, 2010 WL 2680336 (D. Kan. July 1, 2010). In that case, the court held

       that the attempt of a supermajority of holders to amend a trust over the opposition

       of a minority was barred by the TIA. Semper argues that YRC Worldwide teaches

       that the TIA bars reformation actions. It does nothing of the sort; since the case

       did not involve a drafting error responsible for material contradictions in

       governing documents.

178.   The TIA has no application to reformation actions to correct a mistake in a

       contract, because the reformation action does not have the effect of changing a

       holder's "right[s]" to securities. A reformation action is instead a judicial

       declaration that the language of the contract did not accurately reflect the

       contracting parties' intentions as to the rights of holders at the time they executed

       the contract. See Harris, 24 N.Y.2d at 467. It was the contracting parties'

       meeting of the minds that created a holder's right to securities, not the written

       words of the indenture that they signed. Thus, reforming a contract does not alter

       anyone's rights.

179.   Similarly, the provisions of the Indenture which limit amendments to the

       Indenture that modify payment provisions without the consent of all affected



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       noteholders have no application here. As discussed above, a reformation action

       does not amend a contract or affect a noteholders' rights to payments. It instead

       ensures that the written language of the contract reflects the intent of the

       contracting parties regarding those rights.


                   Notice Pursuant to Minn. Stat. § 501B.16


180.   Having given Wells Fargo instructions as to how to interpret the Indenture, I now

       tum to Wells Fargo's request for an order providing that the instructions I give is

       to be binding on all Noteholders.

181.   Wells Fargo commenced this trust instruction proceeding under Minnesota law

       and petitioned the court for an order pursuant to Minn. Stat.§§ 501B.16(4) and

       (23).

182.   Minn. Stat. § 501 B.18 provides that once a petition is filed under § 501 B.16, the

       court shall fix "a time and place for a hearing." It further provides that affected

       beneficiaries shall be given notice of the hearing as follows: "(1) by publishing, at

       least 20 days before the date of the hearing, a copy of the order for hearing one

       time in a legal newspaper for the county in which the petition is filed; and (2) by

       mailing, at least 15 days before the date of the hearing, a copy of the order for

       hearing to those beneficiaries of the trust who are known to or reasonably

       ascertainable by the petitioner." Notice may also be given "in any other manner

       the court orders." In re H & A Neumann Revocable Trust, Al3-1150, 2014 WL

       1407951, at *6-7 (Minn. Ct. App. Apr. 14, 2014) (quoting Minn. Stat.§ 501B.18).

       This type of notice must be given to every interested person or to one who can

       bind an interested person. See Minn. Stat.§ 5018.155 subd. 4(1).

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183.   Here, Wells Fargo properly satisfied the notice requirement by sending Notices to

       the affected Noteholders dated January 27, 2014, February 20, 2014, March 14,

       2014, and April 9, 2014. These Notices were given to the Noteholders, through

       Deutsche Bank, the Trustee, which delivered the Notice to the Depository Trust

       Company, which is the registered holder of all of the Notes. The Depository

       Trust Company delivered the notices to banks, which deliver them to their

       beneficiaries. Wells Fargo also published the Notices on its website, which

       Noteholders can access for information about the Trust. While Wells Fargo did

       not publish the notice in any legal paper as required by Minn. Stat. § 501 B.18,

       this was an effective and appropriate means of notifying affected beneficiaries. I

       accordingly find that the method Wells Fargo used to deliver notice was best

       calculated to make all interested parties aware of the proceeding. See Minn. Stat.

       § 501 B.18 (providing that Notice may be given "in any other manner the court

       orders"); In re H & A Neumann Revocable Trust, 2014 WL 1407951 at *6-7.

184.   Accordingly, this Court's order "is final as to all matters determined by it and

       binding in rem upon the trust estate and upon the interests of all beneficiaries,

       vested or contingent, even though unascertained or not in being." Minn. Stat. §

       501B.21. This order is thus binding on all Noteholders, including Noteholders

       that did not appear in this action.

185.   Having instructed Wells Fargo how to construe the Indenture, there is no reason

       for the Court to exercise a continuing supervision over the Trust or Wells Fargo's

       actions as Securities Administrator pursuant to Minn. Stat. § 501 B.23 or General

       Rule of Practice 417.02.



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                                          CONCLUSION


         186.   For the foregoing reasons, it is hereby ordered that Section 3.38 of the Indenture

                shall be construed as providing that, to the extent Realized Losses must be

                allocated to either the Class I-A-2 Notes or the Class I-A-3 Notes, such Realized

                Losses are to be allocated first to the Class I-A-3 Notes and then, sequentially, to

                the Class I-A-2 Notes.

         187.   The Indenture shall also be reformed according to this instruction.

         188.   Wells Fargo shall henceforth make distributions to Noteholders in accordance

                with this Order.

         189.   This Order is binding on all Noteholders, including Noteholders who did not

                appear in this action.

         190.   Sceptre's affirmative claim to the res is denied.

         191.   The parties are directed to appear for a status conference at 2:30pm on August 6,

                2014, to address Semper's counterclaims and cross-claims.


                SO ORDERED.

Dated:          July~014
                Ne"1V~;k, New York                  ~  ALVIN KHELLERSTEIN
                                                       United States District Judge




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